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                                     U NITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

        U NITED STATES OF AMERICA,                               Southern Division
                                                Plaintiff,
                             vs.                                 Case #: 8:23-MJ-00304-1       Complaint &Warrant
                                                                 Initial App. Date: 06/14/2023       Custody
       Chance Brannon                                            Time: 2:00 PM




                                              Defendant.         Date Filed: 06/12/2023
                                                                 Violation: 18 USC 844(1).
                                                                 CourtSmart/Reporter: CS 06L/2023


  PROCEEDINGS HELD BEFORE UNITED STATES                                 CALENDAR/PROCEEDINGS SHEET
   MAGISTRATE JUDGE: Douglas F. McCormick                                LOCAL/OUT-OF-DISTRICT CASE




    PRESENT:       Nancy K. Boehme                  Kathrynne Seiden                                 / None
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                      Deputy Gerk                Assistant U.S. Attorney                     Interpreter/Language




  O Court issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations; see
  General Order 21-02 (written order).

   Q Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right
  to bail; bail review and preliminary hearing

  Q Attorney: Kate Corrigan and     Retained
  o Contested detention hearing is held.

  ~ Government's request for detention is: GRANTED.

  Q Defendant is ordered: Permanently Detained

      Preliminary Hearing waived.

  Q PIA set for July 24, 2023, at 10:00 AM in Santa Ana.

      Defendant committed to the custody of the U.S. Marshal


                                                                                              Deputy Clerk Initials: nb~
                                                                                                               00:28




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